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AO 243 (Rev. 01/15)

2016 May-02 AM 08:25

U.S. DISTRICT COURT

C¥-16-[-8033-5S N.D. OF ALABAMA
. age 2

MOTION SNDEREE S.C. § 2255 TO VACATE, SET ASIDE, OR CORRECT

gi

y Nee
ce neg eR SENTENCE BY A PERSON IN FEDERAL CUSTODY

 

United States Distriat CUMt / [District Alabama (Southern)

 

Name (underfwhich you weld Sievicted):
‘

hristi 2

Docket or Case No.:
_2:08-c¢-00313-IPJ4IRRA-2

 

 

Place of Corifigement: avi pwe
FC? Aliceyvitte

Prisoner No.:

27201-001

 

 

UNITED STATES OF AMERICA

 

Northern District (Southern)

Movant (include name under which convicted)

 

Christine Stages McKim

 

MOTION

 

 

 

 

 

=
=: =
1. (a) Name and location of court which entered the judgment of conviction you are cfatfenging= —
Northern District of Alabama wn 3 —o-
Hugo Black Court house td ~~ fo
1729 Sth Ave N r= 'D
Birmingham, AL 35203 Po. 71
w
(b) Criminal docket or case number (if you know): _2:08-cr-00313-IP 1B 2 ©
-
2. (a) Date of the judgment of conviction (if you know): _6-29-2009 a =
(b) Date of sentencing: 6-29-2009
3. Length of sentence. 5,400 months
4. Nature of crime (all counts):
15 sounts 18:2251(a) exploitation of children
§. (a} What was your plea? (Check one)
(1) Not guilty [J (2) Guilty [x] (3) Nolo contendere (no contest) (J

(b) If you entered a guilty plea to one count or indictment, and a not guilty plea to another count or
what did you plead guilty to and what did you plead not guilty to?

 

6. If you went to trial, what kind of trial did you have? (Check one) SoryL_] —tudge only _]

7. Did you testify at a pretrial hearing, trial, or post-trial hearing? Yes [| No kK |

8. Did you appeal from the judgment of conviction?

Yes [| No
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9.

10.

1.

If you did appeal, answer the following:

 

 

(a) Name of court: N/A
({b) Docket or case number (if you know): __
(c) Result:

 

(d) Date of result (if you know):
(e) Citation to the case (if you know):

 

 

(f} Grounds raised:

 

(g) Did you file a petition for certiorari in the United States Supreme Court? Yes [_] No [_j
If “Yes,” answer the following:
(1) Docket or case number (if you know):
(2) Result:

 

 

 

(3) Date of result (if you know):
(4) Citation to the case (if you know):

(5) Grounds raised:

 

 

Other than the direct appeals listed above, have you previously filed any other motions, petitions, or applications,
concerning this judgment of conviction in any court?
Yes ct No EI

If your answer to Question 10 was “Yes,” give the following information:
(a) (1) Name of court:

(2) Docket or case number (if you know):
(3) Date of filing (if you know):

 

 

 

(4) Nature of the proceeding:
(5) Grounds raised:

 

 

 
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(6) Did you receive a hearing where evidence was given on your motion, petition, or application?
Yes Lj No J

(7) Result:

(8} Date of result (if you know):

(b) If you filed any second motion, petition, or application, give the same information:

(1) Name of court:

(2) Docket of case number (if you know):

(3) Date of filing (if you know}:

(4) Nature of the proceeding:

(5) Grounds raised:

 

 

 

 

 

 

 

(6) Did you receive a hearing where evidence was given on your motion, petition, or application?
Yes [_j No L_]

(7) Result:

(8) Date of result (if you know):
(c) Did you appeal to a federal appellate court having jurisdiction over the action taken on your motion, petition,
or application?

(1) First petition: Yes CJ No CJ

(2) Second petition: Yes [J No LJ

(d) If you did not appeal from the action on any motion, petition, or application, explain briefly why you did net:

 

12. For this motion, state every ground on which you claim that you are being held in violation of the Constitution,
laws, or treaties of the United States. Attach additional pages if you have more than four grounds, State the facts
supporting each ground.
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GROUND ONE: Ineffective Assistance of Counsel

{a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
see attached

Failure to communicate
Failure to negotiate a plea that benefit defendant
Failure to explain sentencing
Failure to investigate many aspects of the case

 

{b) Direct Appeal of Ground One:
(1). If you appealed from the judgment of conviction, did you raise this issue?

Yes [| No [x]

(2} Ifyou did not raise this issue in your direct appeal, explain why:

Ineffective Counsel. McKim was told that she could not appeal
which is a violation of her Constitutional Rights.

 

 

 

(c) Post-Couviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes LJ No [x]
(2) Ifyou answer to Question (c)(1) is “Yes,” state:

Type of motion or petition:

 

Name and location of the court where the motion or petition was filed:

 

Docket or case number (if you know):
Date of the court’s decision:
Result (attach a copy of the court’s opinion or order, if available):

 

 

 

(3) Did you receive a hearing on your motion, petition, or application?
Yes J No CJ
(4) Did you appeal from the denial of your motion, petition, or application?

Yes (| No (J

(5) Ifyour answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?

Yes [-] No LJ
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(6) If your answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

 

Docket or case number (if you know):

 

Date of the court's decision:

 

Result (attach a copy of the court's opinion or order, if available):

 

{7) Tf your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

issue:

 

GROUND TWO: Ineffective Assistance of Counsel

 

 

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.}:

Failure to investigate competancy
Education level
Failure to bring out sentencing errors

 

(b) Direct Appeal of Ground Two:
(1) If you appealed from the judgment of conviction, did you raise this issue?
Yes [| No Lx

(2) Ifyou did not raise this issue in your direct appeal, explain why:

Ineffective Assistance of Counsel. McKim was told that she could
not appeal which is a violation of her Constitutional Rights.

 

 

{c) Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?

Yes LJ No [x |
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AQ 243 (Rev 01/15) Page 7
(2) Ifyou answer to Question (c)(1) is “Yes,” state:
Type of motion or petition:

 

Name and location of the court where the motion or petition was filed:

Docket or case number (if you know):

 

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 

(3) Did you receive a hearing on your motion, petition, or application?

Yes [| No LJ

(4) Did you appeal from the denial of your motion, petition, or application?

Yes LJ No Lj

(5) If your answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?

Yes CJ] No [_]

(6) If your answer to Question (¢)(4) is “Yes,” state:
Name and location of the court where the appeal was filed:

 

Docket or case number (if you know):

 

Date of the court's decision:

Result (attach a copy of the court’s opinion or order, if available):

 

(7) Ifyour answer to Question (c)(4) or Question (c}(5) is “No,” explain why you did not appeal or raise this
issue:

 

GROUND THREE: Cruel and Unusal Punishment

 

 

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

Unconstitutional Sentence
Mental Health

PTSD

Duress and Coercion

 
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(b) Direct Appeal of Ground Three:

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(1) Ifyou appealed from the judgment of conviction, did you raise this issue?
Yes LJ No
(2) Ifyou did not raise this issue in your direct appeal, explain why:

Ineffective Assistance of Counsel. McKim was told that she could
not appeal which is a violation of her Constitutional Rights.

 

(c) Post-Conviction Proceedings:

(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes [J No

(2) [f you answer to Question (c)(1) is “Yes,” state:

Type of motion or petition:

 

Name and location of the court where the motion or petition was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court's opinion or order, if available):

 

(3) Did you receive a hearing on your motion, petition, or application?
Yes [J No

(4) Did you appeal from the denial of your motion, petition, or application?
Yes LJ No

{5) Ifyour answer to Question (c)(4} is “Yes,” did you raise the issue in the appeal?
Yes No

(6) Hf your answer to Question (c)(4) is “Yes,” state:
Name and location of the court where the appeal was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available);
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(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

issue:

 

GROUND FOUR: Appeal Process

Ineffective Assistance of Counsel
(a) Supporting facts (Do not argue or cite Jaw. Just state the specific facts that support your claim.):

 

 

Failure to communicate for appeal

 

(b) Direct Appeal of Ground Four:
(1) Ifyou appealed from the judgment of conviction, did you raise this issue?

Yes [J No [x |

(2} Ifyou did not raise this issue in your direct appeal, explain why:

Ineffective Assistance of Counsel. Mckim was told that she
could not appeal which is a violation of her Constitutional Rights

(c) Post-Conviction Proceedings:

(1) Did you raise this issue in any post-conviction motion, petition, or application?

Yes [J No LJ

(2) Ifyou answer to Question (c}{1) is “Yes,” state:
Type of motion or petition:

Name and location of the court where the motion or petition was filed:

 

Docket or case number (if you know):
Date of the cowrt’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):
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13.

14.

(3) Did you receive a hearing on your motion, petition, or application?

Yes [_] No [_]

(4) Did you appeal from the denial of your motion, petition, or application?
Yes Lj No L |

(5) If your answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?
Yes C] No {|

(6) Ifyour answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

 

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 

(7) Ef your answer to Question (c}(4) or Question (c)}(5) is “No,” explain why you did not appeal or raise this
issuc;

 

Is there any ground in this motion that you have not previously presented in some federal court? If so, which
ground or grounds have not been presented, and state your reasons for not presenting them:

McKim has not filed any motions

Do you have any motion, petition, or appeal now pending (filed and not decided yet) in any court for the
you are challenging? Yes (-] No

If “Yes,” state the name and location of the court, the docket or case number, the type of proceeding, and the
issues raised.

 

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15.

16,

17.

18,

Give the name and address, if known, of each attorney who represented you in the following stages of the
you are challenging:

(a) At the preliminary hearing:

James L. O'Kelley 2001 Park Place North Suite 259 Birmingham, A13520
(b) At the arraignment and plea:

same
{c) At the trial:

 

 

(d) At sentencing:

same
(e) On appeal:

 

(f) In any post-conviction proceeding:

 

(g) On appeal from any ruling against you in a post-conviction proceeding:

 

Were you sentenced on more than one court of an indictment, or on mere than one indictment, in the same court
and at the same time? Yes No

Do you have any future sentence to serve after you complete the sentence for the judgment that you are
challenging? Yes|_] No xl

(a) If so, give name and location of court that imposed the other sentence you will serve in the future:

 

(b) Give the date the other sentence was imposed:
(c) Give the length of the other sentence:

(d) Have you filed, or do you plan to file, any motion, petition, or application that challenges the judgment or
sentence to be served in the future? Yes _] No Lj

 

 

TIMELINESS OF MOTION: If your judgment of conviction became final over one year ago, you must explain
why the one-year statute of limitations as contained in 28 U.S.C. § 2255 does not bar your motion.*

See Attached
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Therefore. movant asks that the Court grant the following relief:

 

or any other relief to which movant may be entitled.

 

‘Signature of Attorney (if any)

I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct and that this Motion

under 28 U.S.C. § 2255 was placed in the prison mailing system on uy a odd _ Co oO / G
(month, date, year)

Executed (signed) on Y-AD - / bo (date)

. ? .
(AK of Movant

If the person signing is not movant, state relationship to movant and explain why movant is not signing this motion.

 
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United States
V case # 2:08-cr-00313~IPJ-RRA-2

McKim

ATTACHMENT TO MOTION 2255

pecan #1 Ineffective Assistance of Counsel

McKim's 6th Amendment Right was violated due to her lawyer's
failure to investigate her case thoroughly. In order for her to
be presented correctly to the Court a full investigation should
have been done. Counsel must know all the facts before being able
to make professional decisions and informed choices. This can only
happen with proper investigation. McKim's counsel failed to do anything
but have her sign a Plea Agreement. Strickland v. Washington 466
US 688 80 L.Ed. 2d 674,104 S. Ct. 2052 (1984). Representation of
counsel entails certain basic duties. Counsels function is to assist
the defendant, and hence counsel owes a client a duty of loyalty.
Which counsel failed to do so. He failed to make a defense and a
investigation. Geders v. US 425 US 80, 96 S. Ct. 1330 (1976).
Counsel would have put in motions to gather her Departemnt of Human
Resource files and see the abuse she went through and her background.
Counsel would have seen the child she was. Counsel would have also
found that her co-defendant was arrested for threatening to kill her.
Counsel would have also found that her co-defendant has a violent
background with previous felony charges. If counsel would have
investigated and talked to the childrens peccee and seen that they
were unharmed, never raped and they were healthy. Counsel failed to

investigate McKims mental h2alth. McKim was never given an evidentiary
hearing to her knowledge.’
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Counsel failed to communicate with McKim. She didnt understand
what was going on around her. Counsel failed to explain concurrent
and consecutive to her. Counsel never talked to McKim about a

lesser offense that she take. Wanatee v Ault 39 F Supp 2d 11643

 

(N.D. Towa 1999). The ABA describes the obligation of defense counsel
in terms that no one could misunderstand in the circumstance. [It is
the duty of the counsel to conduct a prompt investigation of all
circumstances of the case and to explore all avenues leading to

the facts relevant to the merits of the case. Counsel failed to do

so. Rompila v. Beard 545 US 374, 162 L Ed. 2d 360 125 S. Ct 2456(2005)
Mckim meets the Strickland's two prong test. McKim would not have
plead guilty intentionally and knowingly to 450 years. She was

mislead by her counsel. She was told that she would get 30 years
by her attorney. She would have gone to trial but because of the

misadvice of her counsel she took the plea. James v Cain 56 F. 3d

 

662 (CA 5 1995). Counsel failed to bring up the abuse in McKim's
childhood and the abuse she suffered while in the relationship
with the co-defendant. Maddox v Lord 818 F.2d 1058 (CA2 1987).
McKim primary arguments that here counsel unreasonably neglected
to investigate the affirmative defense of extreme emotional
distrurbance. McKim's prior history would have shown that she

had been under extreme emotional and physical distress for many
years actually most of her life. This changes a person's way of

responding to situations. Deluca v Lord 77 F3d_ 578 (CA 2 1996)

 

The District Court granted the petition on the grounds that
Deluca's counsel in her state court trial was ineffective in two

respects: first, in failing to adequatly investigate, prepare for
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one
advise DeLuca of a possible defense based on extreme emotional
disturbance ("EED"); and second, infailing to advise DeLuca that
it was up to her to decide whether to testify in her own defense.
Counsel knew about McKim's being hospitalized for mental problems
so that alone without all the other emotional abuse that happened
after this hositalization would most definatly be grounds for any
competent counsel to question McKim's situation. None of these
serious issues were even brought up in Court. Counsel's job to

provide McKim a clear understanding of the law was not even attempted.

Ground #2

McKim completed 8th grade only and during these years she was
bounced from foster home to foster home. Her emotional maturity
was even less than 8th grade level. Competent counsel would have
been able to recognize this just by speaking with McKim. She was
a "Child" - mentally- emotionally-and physically. At the time of
her arrest she was 5'2" and 701lbs. Non of these serious factors

were ever brought out.

Ground#3
Sounsel failed to explain and weigh the difference in
concurrent and consecutive sentencing. This should have been

specified in the plea but it was not. Beavers v Lockhart 755 F.2d

 

657 (CA8 1985)Beavers argues that cousel failed to raise the issue
of consecutive sentencing. During the thorough review of the case
it was found that the trial judge did not run the sentences
consecutively on the consideration of character or habits or prior

record. This case was vacated and remanded for the consecutive
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4.

sentencing to be corrected and run concurrent. McKim has NO PRIOR
RECORD. The fact that her sentence was run consecutive is a complete
miscarriage of justice and a violation of more than one Constitutial
Right. Counsel told McKim that she would get 30 years if she signed
the plea. Who in their right mind would sign a plea for 450 years?
It is obvious that she was mislead or did not understand what was
going on. Counsel should have also gotten her counts consolidated.

A District Judge must explain the appropriateness of any unusually
harsh sentence with sufficient justifaction. The judge should consider
all of 18 USSC 3553 (a) sentencing factors to determine whether

they support the sentemce given. He may not presume the guideline
range is reasonable. Gall v_ US 352 US 38 169 L.Ed. 2d.445, 128 S. Ct
586 (2007). Abuse of discretion is shown in McKim's large sentence
due to FIRST TIME OFFENDER and non- career offender. Counsel failed
to argue that some counts were done on the same day not different days.
Prosecutorial misconduct was shown on McKim's case because they
withheld her mental and background history as evidence as well as
police reports on McKim's co-defendant. Brady v Maryland 397 US

753 (1970). Federal prosecutors are suppose to seek justice not
merely score convictions. McKims 8th Amendment was violated to

cruel and unusual punishment. McKim's sentencing is cruel and a
miscarriage of justice. Due to the duress McKim suffered by threats
and physical abuse by her codefendant she did not act of her own
free will. McKim was physically and emotionally hurt so severlly
that when co-defendant threatened to hurt her children, she believed
he would do it. She did whatever he told her to do, if not he would

beat her severly. Her co-defendant was arrested in Jessup, GA because
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5.
he threatened to kill her infront of a hotel clerk which called the
police. This and other records of the abuse were never brought in.
McKim was in fear for her life and the life of her children. Co-
defendant had made good on his promises to hurt her ail the time
so she knew he would do it. McKim was taken away from everyone she
knew. He saw a "child" even though she was 17 years old. Counsel
Failed to let the court know and understand the fear he installed
in her. Counsel failed to file a motion for 5K2.12 for Coercion
and Duress. Battered woman syndrome is a set of psychological
and behaviorial reactions exhibited by victimes of severe, long-term,
domestic physical and emotional abuse. Once battered women believe
themselves to be helpless victims of abusive men, they behave like
hostages and link themselves to the captors out of fear that is
the only way to survive. Battered women are unable to respond
effectively to violence because they are psychologically trapped
in the violent relationship. Repeated beatings diminish the battered
woman's motivation to respond and instill. in her a negative belief
about the effectiveness of her actions. This "learned helplessness"
keeps a battered woman from leaving her batterer. One of the primary
survival skills of battered women is hyperalertness. The Battered
woman learns to be sensitive to her enviroment to prevent further
violence to herself and her children. The development of survival
skills, however, comes "at the expense of escape skills" L. Walker
at 33 &87-89. Society often misinterprets the survival skills of a

battered woman as signs of passivity and weakness couples with an

unwillingness to leave the violent relationship. A common misunder-

standing is that the battered woman's responses are indicative of
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weak character. Rather, these reponses must be seen as attempts

to cope with the abusive and controlling enviroment in which she
lives and from which she is helpless to escape. Model Penal Code
which recognizes duress as a defense if the threat of the use of
unlawful force is such that a person of reasonable firmness in her
Situation would have been unable to resist. American Law Institute
Model Penal COde 2.09(i1)(1985); see also Grant 691,F.2d at 1161-62,n3.
It is also said " by the continued use of unlawful force, persons
effectively breakdown the personality of the actor, rendering her
submissive to whatever suggestions they make. They then, using neither
nor threat of force on that occasion suggest that she perform a
criminal act;and the actor does what they suggest." Our own law
recognizes that for a substantial period of time a brutal man may
subject women to severe psycholgical stress such that they “fail .

to escape or cry out for help when in a public place because they
lacked sufficient ego strength, self-confidence and will power when
they were in the threatening shadow of the man's complete domination
over them." United States v Winters, 729 F.2d 602, 605(9thCir. 1984)
It was the government in Winters that relied on a psychiatrist's
testimony to amke this point. In other contexts, too, we have recognized
the "pattern, all too familiar, of a victim identifying with the
aggressor under conditions of terror.” Lazo-Majano v_INS, 813 F.2d
1432, 1434(9th Cir 1987). Accordingly, what is required is for the
fact-finder to determine whether, given the experience and psycholgical
make-up of this defendant, she feared to leave and oberyed from fear
the criminal who directed her conduct. McKim was given a psychological

evaluation on March 6 2009 which was three years after being arrested
and taken out of the abusive situation that she was in.
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7.

United States v. Bailey, 444 US 394, 409-10, 100 S. Ct. 624, 634,
62 L. Ed. 2d 575 (1980) Under this defense, otherwise criminal
behavior may be excused under narrow circumstances. To succeed
with this defense, the defendant must show: That the defendant was
under an unlawful and present, imminent, and impending threat of
such a nature as to induce a well-grounded apprehension of death
or serious bodily injury; 2. that the defendant had not recklessly
or negliently placed herself in a situation in which it was probable
that she would be forced to choose the criminal conduct; 3. that
the defendant had no reasonable legal alternative to violating the
law; a chance both to refuse to do the criminal act and also to
avoid the threatened harm, and 4. that a direct casual relationship
may be reasonably anticipated between the criminal action taken

and the avoidance of the threatened harm. United States v. Liu

 

960 F.2d 449, 453 (Sth Cir). McKim was in fear for her life and the
life of her children from the past and present trauma and abuse.

At 17 years old when she got with the 35 year old man she hadno

idea that he would be so abusive and cruel. She did not nezligently
or rechklessly put herself in any situation. She was a child herself.
McKim did not have the mental, emotional, or physical way to get

away from this evil man. McKim's counsel failed completely in

Showing the court any of the true facts of the case. Model Penal

Code 2.09 "Stark, tangible factors that were differentiated the actor:
from another, like her size, strength, age, or health, would be
considered in making the exculpatory judgement". The fact that she
was 5' 2" and 70lbs along with a Heroin/ Cocaine addict, that was

supplied by co-defendant, should have been considered. Moreover,

a purely subjective element that cannot be taken into account in

 
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8
sentencing. Federally, the Sentencing Guidlines specifically provi-ie
for the possibility of downward departure “committed tiie offense

because of serious coercion, blackmail,or duress, under circumstnee3

not amounting to a complete defense". USSS 5k2.12. The Commission's
Policy Statement on this guideline declares: '' The extent of the
de:rease ordinarily should depend on the reasonableness of the
defendants actions and on the extent to which the sonduct would have
bean less harmful under the circumstances as the defendant believed
them to be." The perception of the particular defendant thus must be
taken into account.
Ground #4 Appeal Process

McKim made an attempt tn have her counsel file an appeal but

he would not answer the phone. The excessive unconstitutional
sentence that was given to McKim and an appeal should have been
entered. Effective Counsel, which is a constitutional right, on
such a huge sentence would have recognized the fact that McKim was
not competent to amke any decisions including giving up her rights
in a plea. The fact that she gave up any rights and still recieved

a Life sentnece of 450 years shows Ineffective Assistance of Counsel.
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LIST OF CASES OF VERY SIMILAR NATURE

This shows the huge sentence disparity on McKims case.

Also attached is a letter from McKim in her own words

which explain her history and some onf the abuse.
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CASES OF SIMILAR NATURE

vs United States v Julie Carr- 09-CR-193 (D. Me. 2011)
(female defendant convicted of sexual exploitation of child;
defendant transmitted four webcam videos of two- year- old
daughter being abused to man and received child pornography
from man; sentenced to 240 months imprisonment despite claim

>of dependent personality disoder and man had " conned" defendant);

* United States v Laura Shoulders - 14- CR- 8 (W. DBD. Okla 2014)

 

( female defendant convicted of sexual exploitation of child;
defendant used her cellular telephone to take three sexually-
explicit videos of one - year- old girl sent them via text
message to a man; sentenced to 324 months imprisonment despite

calim that man conviced" defendant to do it and defendant

took videos at man's request);

* United States v Jennifer Mahoney - 12- CR- 319 (D.N.J 2012)

 

( female defendant convicted of ‘sexual exploitation of a child;

defendant used her cellular telephone to take and email video
of her sexually exploiting a five - year- old child in her care
and also live- stream video to man; sentenced to 360 months

imprisonment);

 

* United States v Holli Chapman - 11- CR - 282 ( N. D. Tex2012)

( female defendant convicted of sexual exploitation of a child;

defendant used her cellular telephone to take two sexually
explicit photographs of her six - year- old daughter being
sexually abused and sent the photographs via text message to

a man; sentenced to 360 months imprisonment);

2 united®$tatés v Andrea Mast - 11CR- 37 (W. D. Mich. 2012)
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* United States v Andrea Mast - 11-CR-37 (W.D. Mich. 2012)

 

( female defendant convicted of sexual exploitation of a child;
defendant took sexually explicit pictures of seven- year- old

girl and sent them via email to a man; sentéced to 360 months

imprisonment);

* United States v Mellissa Loman - 13-CR-35 (W.D. Okla. 2013)

 

(:female defendant convicted of sexual exploitation of a child;

used her cellular telephone to take nineteen sexually- explicit
videos of a minor and sent them via text message to a man in
exchange for financial benfits; senteced to 360 months imprisonment);

“* United States v Adleta, No. 13-CR-74 (M. D. Fla, 2013), aff'd 2014
WL 3882497 (11th Cir. Aug 8 2014) (female defendant convicted of
two counts of sexual exploitation of child; defendant transmitted
Sexually explicit photographs and video of her three-year-old
daughter and two-year-old son and sent them via email, text message,
and Skype to a man in North Carolina; defendant licked her daughters
vagina two or three times; sentenced to 54 years imprisonment).

* United States v Rhonda Michelle Fee, No. 11-15356, Appeal Northern
District of Alabama, 7:09-cr-00029-LSC-HGD-2, United States v. Fee
425 Fed. Appx. 847, 2011, US App LEXIS 8854 (11th Cir Ala).

Fee was convicted of 8 counts of sexually explicit child pronography
L count possession. Fee and Co-defendant had video camera set up
in the restroom of child and in her bedroom. Both camera's downloaded
to the Fee's bedroom. Found at the Fee's home was also 8 polaroid's
of shild'd genitalia. Rhonda used her hands to hold child's genitalia

while photo's were taken. Sentenced to 8 CONCURRENT terms of imprisonment
one 120 month to run CONCURRENT ALSO.
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* United States v Solomon-Eaton- 12-CR-352 ( New York)

 

( female defendant convicted of 13 counts of exploitation
of child; defendant used her cellular telephone to take
sexually- explicit photographs of her two- year- old
daughter photographs include minor daughter with a dildo

sent photographs to man via text message; senteced to 17 years).
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United States of America,
ve

Christine Staggs McKim

As a first time offender, at the age of 22, when she was 277

arrested. Ms.: McKim was sentenced to 450 years for a crime that
others are being sentenced to 30 years or less today. (see

attached cases of similar nature that received a substantially

less sentence.) Ms. McKim has been sentenced to 15 counts all
running consecutively which is only found in repeat offenders
not a first time offender. Ms. McKim's sentence also does not
portray the true circumstances of the crime. She had very poor
representation for which she did not have the knowledge and
understanding to know this at the time of sentencing and for
many years later. Ms. McKim had an 8th grade education along
with many mental health issues due to the severe childhood
trauma which continued until she was arrested. (attached is

a letter written by McKim with details about her childhood

and time until she was arrested.) The Court was never presented
with the actual history nor all the circumstances surrounding
this case. The fear and learned helplessness that was derived
from a lifetime of abuse made her mentally incompetent to do
anything other than take orders from a man.McKim's co-defendent
was so cruel of a man that she stayed scared for her life and
her childrens lives. All she knew todo was what he told ber to

do. McKim was a victim of Battered Woman Syndrome.

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Battered Woman Syndrome is a set of psychological and behavior
reactions exhibited by victims of severe long term, domestic
physical and emotional abuse~ L. Walker, The Battered Woman
Syndrome (1984). Battered Woman Syndrome is not a mental disease
or a defect; rather, battered woman syndrome is a post- traumatic
stress disorder. Its psychological effects are often similiar

to the effects of imprisonment on kidnap victims and prisoners

of war. Once battered women belive themselves to be helpless
victims of abusive men, they behave like hostages and link
themselves to their captors out of fear that it is the only way

to survive. Battered Women are unable to respond effectively

to violence because they are psychologically trapped in ‘the
violent relationship. Repeated beatings diminish the battered
Woman's motivation to respond and instill in her a negative belief
about the effectiveness of her actions. This “learned helplessness"
keeps the battered woman from leaving her batterer. It is the

task of the sentencing court to determine the credibility and
weight of these issues but McKim's attorney did not present any

of these issues. Futhermore, there are police reports and
Department of Correction files on her co- defendant to prove

how cruel of a human that he is. Our own law recognizes that for

a substantial period of time a brutal man may subject women to
severe psychological stress such that they "fail to excape or cry
out for help when in public place because they lacked sufficient
egostrength, self- confidnce and will power when they were in the

shadow of the mans complete domination over them"
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United States v Winters, 729 £2d 602, 605 (9th Cir 1984)
If the Court would have had knowledge of the severe trauma
that McKim has had her entire life the outcome of her

sentencing would have been different.

Due to the extreme sentence that McKim had been given
shedid not know how to handle it. She acted out in anger
until she was able to get help for the first time in her
life to process her emotions and start working toward
positive life skills. She has accomplished many things
while being incarcerated to become a productive member of
society. She has received her GED and started college
courses. McKim has also taken many classes on trauma and
anger ( See attached). She is just now has the maturity,
emotional] and educational level to assit with the =
presentation of her case. In an accurate and semi professional

manner.
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Eiged, b3 January 7, 2016
Fri net Byrd, Ps Resolve>rogram Sy). FCI Aliceville

Subject: Inmate McKim, Christine #27201-001

This letter is to inform you that inmate McKim, Christine #27201-001, is currently participating in the
Resolve Program at the Federal Correctional Institution in Aliceville, Alabama. The Resolve Program is a
voluntary non-residential trauma treatment program which focuses on helping female inmates, who
have been victims of traumatic experiences to learn to cope with the past traumas in order to move
beyond it and live a life free of criminal activity, violence and substance abuse. It also emphasizes the
importance of building a healthy support community, and assists inmates in managing mental health
and/or substance abuse problems. It takes a minimum of nine months to complete the program,

Inmate McKim has participated in the program with no issues and has appears to demonstrate an active
commitment to learning the skills she needs in order to think rationally and make better choices in her
future. She has been a consistent participant in all facets of the program, which includes a psycho-
educational group she completed at FCI Tallahassee and therapy groups based on treatment modalities
which have been shown to be evidence-based practices. She appears to have been making positive
Strides in her effort to internalize the Resolve Program’s philosophy.

In addition, since inmate McKim’s incarceration in the BOP in 2009, she has actively sought psychological
counseling to address both her trauma issues, as well as her own criminal behaviors, which has been
well documented. This letter is meant for the sole purpose of advising as to her efforts in addressing
psychological issues.

If you have any questions about inmate McKim’s efforts, please feel free to contact me at (205) 373-
5195.
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Bureau of Prisons “SENSITIVE BUT UNCLASSIFIED"
Psychology Services
Resolve Program

 

lamate Name: MCKIM, CHRISTINE STAGGS Reg #: 27201-0001
Date of Birth: 05/21/1984 Sex: F Race: WHITE Facility: ALI
Open Date: 12/09/2015 Closed Date: Status: Active Discussed: Yes

 

PGI Title: Phase II: Dialectical Behavior Therapy

Status: Active Last Updated: 12/09/2015 Last Provider: Byrd, Janet PsyD
Problem: The inmate has a diagnosis of Borderline Personality Disorder or associated features as demonstrated by
Goal: Decrease behaviors that threaten life, interfere with therapy, and decrease quality of life while increasing

Skills that replace ineffective coping behaviors
Interventions: - Altend all scheduled group sessions & complete all assignments
- Demonstrate mindfulness
- Demonstrate distress tolerance and regulate emotions
- Practice interpersonal effectiveness
- Demonstrate self-management
Progress Notes:

Displays Conceptual Understanding Only Date: 01/04/2016 Provider: Byrd, Janet PsyD
inmate MCKIM has been a fair participant in the Dialectical Behavioral Therapy (DBT) group of Phase II up to the
present time, which was expected due to the fact she joined into a group of peaple who had participated in Phase |
together. She verbalizes a desire to learn how to stop engaging in self-destructive behaviors, such as self-mutilation
and avoidance as a means of dealing with uncomfortable emotional situations. She has verbalized a desire to self-
improve and be able to have more stable interpersonal relationships and effectively manage her anxiety. Her anxiety
appears to be due to issues related to abuses, which occurred during her childhood. As a result, she tends to
manifest her anxiety through emotional detachment symptoms and anger, which has hindered her ability to interact
rationally in her relationships, as well as not run from a relationship when even minor issues arise.

She has been in attendance and appears highly invested in self-improvement and the treatment process. She has
been trying to be a supportive group participant. She has expressed her desire to work with the Resolve Program
Coordinator in trying to understand the connection between her traumatic experiences and her mental
illness/substance abuse in her effort to ensure she is able to cope with future experiences without engaging in
further self-destructive behaviors. Her continued participation in DBT should assist in these areas.

Generated 01/07/2016 09:23 by Byrd, Janet PsyD Bureau of Prisons - ALI Page 1 of 1
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**SENSITIVE BUT UNCLASSIFIED**

Federal Bureau of Prisons
Psychology Data System

 

Date-Title: 12-20-2013 - Clinical Intervention - Treatment Plan
Reg Number-Name: 27201-001-MCKIM, CHRISTINE S.
Author: TARA MEISNER, M.A., PSYCHLGY PREDOCTORAL INTERN
Institution: TAL - TALLAHASSEE FCI

 

Diagnostic Impressions:
AXIS TI: Posttraumatic Stress Disorder - Chronic without Delayed Onset

AXIS II: None

Treatment Plan:

Problem: Inmate McKim (27201-001) requested time in the Personal Growth Room to help with managing emotions.
Below are the Inmate’s goals:

“To deal with and overcome stress, guilt and denial."

“To learn how to effectively communicate.”

"To learn how to be assertive."

Interventions: Inmate McKim will spend six 60 minute sessions in the Personal Growth Room. She has selected the
following materials to help her accomplish her stated goals:

Resolving Your Past (EM30-AT)

How to Handle Conflict and Confrontation (CO03)
Understanding Anxiety and Worry (ESI08)
Understanding Guilt (ESI11)

Self-Discipline and Emotional Control Vol 1(ESI19)
Courage to Heal (EM37-AT)

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Termination Summary: (02-26-2014

Inmate McKim attended all 6 of her scheduled sessions In the Relaxation Room. She reported that she enjoyed her
time in the room and will continue to work on tssues related to anxiety during individual therapy.

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**SENSITIVE BUT UNCLASSIFIED **

Federal Bureau of Prisons
Psychology Data System

 

Date-Title: 08-20-2009 - Intake Screening
Reg Number-Name: 27201-001 - MCKIM, CHRISTINE S.
Author: MICHAEL T. PLASAY, CH PSYCH
Institution: TAL - TALLAHASSEE FCI

 

TREATMENT/ MENTAL HEALTH HISTORY:

Inmate MCKIM reported the following:
In-Patient: age 13: homicidal/suicidal thoughts, 6 months,

Out-Patient: Counseling off and on since age 4.

Suicide Attempt: 8 attempts: each time attempted OD. First age 14, last time, age 21.

ABUSE HISTORY:

Inmate MCKIM reported the following:

Sexua! Abuse: step father when 2.
brother when 9-13, pretty much every dayover years
step grandfather at 13 couple of times
boyfriend in last six years multiple times,

Physical Abuse: see above
foster parents

MENTAL STATUS:

During the screening interview no mental status items were noteworthy.

Her psychological stability for custody is judged to be FAVORABLE .
DRUG ABUSE HISTORY:

Inmate MCKIM reports a history of substance abuse, Her primary drug of addiction/abuse is
POLYSUBTANCE ABUSE , She is interested in drug abuse treatment.

PROGRAM TREATMENT RECOMMENDATIONS:
No programs/treatment are recommended at this time.
Inmate MCKIM reported an interest in participating in programs/treatment.

COMMENTS:

Inmate is a 25 year old white fernale serving a 450 year sentence for production of child pornography. She
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was advised verbally of the limits of confidentiality. There is no Indication of prior offenses. She indicated she fs

divorced with four children, ages 9, 8, 4, and 3, She anticipates regular written contact with her father, who Is
also incarcerated.

She reported at age 13 being hospitalized for six months for having homicidal/suicidal thoughts, She could not
remember the diagnosis at the time. She does recall that she was Initially placed on zoloft for three months
before she was hospitalized. She reported outpatient counseling off and on since the age of 4, and was initially
sent to counseling because she had “issues with being touched by people."

She reported 8 prior suicide attempts beginning at age 14 and ending at age 21. Each time was described as an
unsuccessful od on tylenol. Usually, the event Involved doing it in front of someone, or calling her boyfriend, or
having someone walk In on her after being passed out. Only one resulted in a trip to the ER.

She reported being a victim of sexual abuse/assault. Please read additional noted for details.

She reported using a number of substances, She began using heroin at age 14. Her preferred method is
injection, and reported a daily use beginning by age 15 to the time of incarceration, She reported similar history
for cocaine, mixing the two together and using on daily basis. Sha began using methamphetamine at age 19.
She reported a 3-4 time a month habit. She reported a history of using xanax and klonopins beginning at age
20 on a daily basis (unprescribed). She denied any history of serious head injury or current physical health
problems.

Inmate interested in multiple programs, including counseling, drug rehab, and trauma. She was
Instructed on how to contact psychology services in the future routinely, as well as, in the event
that she began to feel in crisis,

**SENSITIVE BUT UNCLASSIFIED**

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U.S. DISTRICT COURT
N.D. OF ALABAMA

 

Se ee ee

 

2b F | ED case # 2:08-cr-00313-IPJ-RRA-2

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Comes now, Christine Staggs McKim which respectfully
requests that all proceedings past, present and future remain
sealed due to the nature of the offense. This requests has been
honored on all the past proceedings and is requested to remain in

effect for all present and future proceedings.

Nites LK £2 %2)-061
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2016 Jun-23 PM 02:14
U.S. DISTRICT COURT

 

UNITED STATES DISTRCIT COURT NyB. OF ALABAMA
Christine Mckim - j LET)
Petitioner 20
y. INAZE ANG, >, 2:08-cr-00313-IPJ-RRA_~2

S OF AMERICA US. pf
THE UNITED STATE Np iSibe, i cour
SEEKING A SENTENCE RENUCTION BASED ON
JOHNSON V. UNITED STATES AND PURSUANT TO
28 U.§.C.§2255

 

COMES NOW, Christine Mckim - , pro se, seeking a
Sentente reduction based on JdOhnson v. United States, 135
§.ct. 2551 (2015) and pursuant to 25 U.S.C. §2255.

Successive Habeas petitions cannot statutorily get relief unless
a new rule is declared retroactive by the Supreme Court, and
Congress nas imposed a one-year limitation on successive
petitions. Individuals who have never filed a 28 U.S.C. §2255
and are outside the standard time frame are also held to the
one-year limitation es set forth by Congress. Nadd v. U.S., 545
u.s. 353, 357 (2005). “These cases are to be pursuant to 28 U.S.C.
$2255 (h)(2), "a new rule of constitutional law, made retro-
active te cases on collateral review by the Supreme Court, that
was previously unavailable.” Based on the writings of late
Justice Jonn Marshall Harlan II, the Court has decided over

time that new "Substantive" constitutional rules should apply
retroactively to everyone, even "Final cases". In Welch v.
United States, (Na. 156418) (S. Ct. April 18, 2016), the

Supreme Court held that its J@hnson v. United States, 135

S. Ct. 2551 (2015) decision is retroactively applicable on
collateral review. The johason case was issued on June 26,

2015. This is filed within the cne-year time Limit and is

therefore a ‘timely motion.

An applicant seeking a Certificate of Appealability in a

§2255 proceeding must make "a substantial showing of the

denial of a constitutional right". $2253(c)(2). That standard
-j-
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"ds met when "reasonable jurists could debate whether..... the
petition should have been resolved in a different manner”.

Slack v. McDaniel, 529 U.S. 473, 484.

New constitutional rules of criminal procedure generally do net
apply retroactively to cases on collateral review, but new
substantive rules do apply retroactively. Teague v. Lane,

489 U.S. 288, 310; Schriro v. Summerlin, 542 U.S.348, 352.
Substantive rules alter "the range of canduct of the class of
persons that the law punishes", id., at 353. Procedural rules,
by contrast, "regulate only ,the manner of determining the
defendant's culpability." Under this framework, Johnson is
substantive.

Under Teague, as a general matter, “new constitutional rules of
criminal procedure will not be applicable to those cases which
have become final before the new rules are announced." 489 u.s.,
at 310. Teague and its progeny recognize two categories of

. decisions that fall outside the general ban on retroactivity for

procedural mules. First, "new substantive rules generally apply
retroactively." Schriro v. Summerlin, 542 U.S. 348, 351 (2004);
See Montgomery v.-Louisianna, 577 u.s.._, __ (2016); Teague,
supra, at 307, 311. Second, new "watershed rules of criminal
procedure, which are procedural rules implicating the fundamental
fairness and accuracy of the criminal proceding, will also have
retroactive effect." Saffle v. Parks, 494 u.s...484, 495 (1990);
see Teague, supra, at 311, 313. The Teague framework creates a
balance between first, the need for finality in criminal cases,
and second, the countervailing imperative to ensure that criminal

Ppunkshment is imposed only when authorized by law.

It is undisputed that Johnson announced a new rule. See Teague,
Supra, at 301 ("A case announces a2 new rule if the result was

not dictated by precedent existing at the time the defendant's
conviction became final") . The question is wnether that new

rule falls within one of the two categories that have retroactive
effect under Teague. Johnson does not fall into the Limited

second category for watershed procedural rules, as held by the

courts. The United States contends, instead, that Johnson falls
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into the first category because it announced a new substantive

tele.

Before Johnson, the residual clause could cause an offender to
Face a prison sentence of at least 15 years instead. of 10
maximum. Since Johnson made the residual clause invalid, it can
‘no longer mandate or authorize any sentence. By the same logic,
Johnson is not procedural, since it-had nothing to do with the
range of permissible methods a court might use to determine
whether a defendant should be sentenced under the Act; see
Schriro, supra, at 353.

By striking down the residual clause as void fer vagueness,
Jonnson changed the substantive reach of the Armed Career Criminal
Act, altering "the range of conduct or the class of persons the
Act punishes." Schriro, supra, at 353. Johnson establishes that
"even the use of impeccable fact finding procedures could not
legitimate’ a sentence based on that clause. United States v.
United States Coin and Currency, 401 U.S. 715, 724 (1971).

Federal law makes the possession of a firearm by a feloH a crime
punishable by a prison term of up to 10 years, 18 U.S.C. §922(¢),
924(a)(2), but the Armed Career Criminal Act of 1984 increases
that sentence to a mandatory 15 years to life if the offender
has (3) or more prior convictions for a "serious drug offence"
or a "violent felony", §924(e)(1). The definition of "violent
felony" itcludes the residual clause, covering any felony that
“otherwise involves conduct that presents a serious potential
risk of physical injury to another." §924{e)(B)(ii). In

Johnson v. UNited States, 576 u.s. —, it was held the clause
was unconstitutional under the void-for-vagueness doctrine.

Johnson has been applied to 18 U.S.C.§16(b), a statutory provision
that also provides a generic definition of “crime of violence",

a Similar residual clause. See Gonzalez-Longoria, 813 F. 3d 225
(Sth Gir. 2016). Furthermore, the Language in §16(b) is identical
to the residual clause of section 924(c)(3)(3). See United States
v. Edmonson, 2015 U.S. Bist. LEXIS 171007 (p. Md. 2015), holding

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the residual clause under Section 924(c){3)(B) was unconstitutional
post-Johnson. ”

Sentence enhancements pursuant to 18 U.S.C.§§924(e), 924(c);
3559(c)(2)(F)Cii); and 8 U.S.C. §1101(a)(43)(F) are also
applicable and affected by the Johnson ruling.

The Johnson standard.also applies tp individuals who were
sentenced as a career offender based on one or more prior
convictions that Fit the "residual clause" of the career offender
guideline. According to 4B1.1(a) of the sentencing guidelines:
(a) A defendant is a career offender if (1) the defendant was

at least 18 years old at the time the defendant committed the
instant offense of conviction; (2) the instant offense of
conviction is a Felony that is either a crime of violence or

a controlled substance offense; and (3) the defendant has at
least (2) prior felony convictions of either a crime of violence
or a controlled substance offense. The guidelines then go on

to define what “crime of violence" means in section 431.2(4):
(a) The term "crime of violence” means any offense under federal
or state law, punishable by imprisonment for a term exceeding
one year, that (1) has as an element the use, attempted use,:

or threatened use of physical force against the person of
another, or (2) is burglary of a dwelling, arson, or extortion,
involves use of explosives, or otherwise involves conduct that ©
presents a serious potential risk of physical injury to

another. The "residual clause" of the career offender guideline
of 4B1.2(a)(2) states "otherwise involves conduct that presents
a serious potential risk of physical injury to another." A
conviction that falls under the residual clause is no longer
qualifying in light of Jéhnson.

Imposing an increased sentence under ACCA's residual. clause
violates due process. The government violates the Due Process
Clause when it takes away someone's Life, liberty, or property
under a criminal law so vague that it fails to give ordinary
people fair notice of the conduct it punishes, or so standardless
that it invites arbitrary enforcement. Kolender v. Lawson,

461 u.s. 352, 357-358. Courts must use the "categorical
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approach" when deciding whebher an offense is a violent felony,
"in terms of how the law defines the offense and not in terms
of how an individual offender might have committed it on a
particular occassion." Begay, supre, at 141. .

The prohibition of vagueness in criminal statutes "is a well-
recognized requirement, consonant alike with ordinary notions
of fair play and the settled rules of law", and a statute that
flouts it “violates the first essential of due process".
Connally v. General Constr. Co., 269 u.s. 385, 391 (1926).

The principles apply not only to statutes defining elements of
crimes, but also to statutes fixing sentences. United States
v. Batchelder, 442 u.s. 114, 122 (1979).

"We are convinced that the indeterminacy of the wide-ranging
inquiry required by the residual clause both denies fair: notice
to defendants and invites arbitrary enforcement by judges.
Increasing a defendant's sentence under the clause denies due
process of law." (Justice Scalia, dissenting, JdOhnson v.

Gnited States, 576 u-s. (2015) ).

Two features of the residual clause conspire to make it
unconstitutionally vague. In the first place, the residual
Clause leaves grave uncertainty about how to estimate the risk
posed by a crime. It ties the judicial assessment of risk to

a judicially imagined "ordinary case" of a crime, not to
real-world facts or statutory elements. At the same time, the
residual clause leaves uncertainty about how much risk it

takes for a crime to qualify as a violent felony. It is one
thing to apply an imprecise "serious potential risk" standard
to real-world facts; it is quite another to apply it to a
judge-imagined abstraction. By asking whether the crime
"otherwise involves conduct that presents a serious potential
risk", moreover, the residual clause forces courts to interpret
“serious potential risk" in light of the four enumerated crimes-~
burglary, arson, extortion, and crimes involving the use of
explosives. These offenses are "far from clear in respect to

the degree of risk each poses." Begay, 553 u.s.; at 143. By
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combining indeterminacy about how to measure the risk posed by
a crime with indeterminacy abouc how much risk it takes for the
crime to qualify as a violent felony, the residual clause
produces more unpredictability and arbirariness than the Due
Frocess Clause tolerates. (Justice Scalia, dissenting, Jonnson
v. United States, 576 u.s. (2015) ).

The residual clause requires application of the "serious potential
isk" standard to an idealized ordinary case of the crime. Because
“the elements necessary to determine the imaginary ideal are
uncertain both in nature and degree of effect", this ebstract
inquiry offers significantly less predictability than one

"that deals with the actual, not with an imaginary condition

other than the facts." International Harvester Co. of America

v. Kentucky, 234 u.s. 216, 223 (1914). (Justice Scalia, dissenting,
Johnson v.‘United States, 576 u.s. (2015) }.

WHEREFORE, in light of the Jdhnson case being applicable on
collateral review, Petitioner respectfully requests this Court
to vacate, set aside, or correct sentence and be resentenced
accordingly pursuant to the changes set forth by Johnson v.
United States.

Respectfully submitted this GO day of _Lne , 2016.

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Inmate No. W7wo/ “a0f

 
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United States

Ve Case number: 2:08-cr-00313-
IPJ-RRA-2
Christine Mckim

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Memorandom Attachment to 2255 Johnson Supplement to 2255

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Comes now, Christine Mckim, pro se. Mckim was enhacement
as a repeat offender by 5 points. Pursant to 4B1.5 repeat and
dangerous sex offense against minor if the defendant's instant
offense of conviction is a covered sex crime- Counts 1-21 .dainot
meet the requriements for the 5 point enhancement that was given
for-pattern of activity. The Johnson case has addressed enhancements
for priors and Mckim has NONE. There has not been a pattern
of any activity. Therefore her offense Level that is a 51 is
incorrect. Mckim did not have any prior sex offenses and it was
noted in her PSI that this did not apply to her yet. she was still
given these points. The Johnson descision, has changed how the
courts should Look at each«case.Johnson conclueded that the
process of determining what is embodied in the ordinary case.
rather :than " real world facts” is factually flawed rending
enhacements uncontitutionally vauge. “ Grave uncertainty"
surrounds the method of determing the risk posed by Judicially
imagined ordinary case. Johnson @2257. The residual Clause offers
no reliable way to choose between competing accounts of what

" involves," ID 2258. The Johnson court considered

"ordinary
and rejected different ways that a court might envision the

hypothetical ordinary case since the statute offers no guidance
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Specifically, the court explained that a statistical analysis

of reported cases, surveys, expert evidence, google and Fe “
instinct are all equalley unreliable in determing the ordinary
case. ID@ 2257 ,quoting United States v Mayer,560 £.3D 948 952

(9th Cir.09). Mckim‘s counts were also “Grouped" into 6 groups

but yet sentenced to each individual count. This is another
enhancement that is a direct violation of her rights. It is
unconstitutionally vage as to the reason for the groups other

than an additional enhancement that should be only applied

to a repeat offender just like the pattern of activity enhancement

"common sense”

Johnson has concluded that the statistical and
methods have "failed to establish any generally applicable test

that prevents the risk comparison requried by the risidual clause

from delving into guess work and intuition. “Johnson @ 2259

( referring to Chambers v United states, 555 US 122 (2009),

and Sykes v United states, 564 US 1 (2011). This flaw alone
establishes the Risidual clause's and enhancements, unconstitutionally
vauge. This also falls into Double Jeopardy and multplicity.

All of these enhancements that-ate vauge and unconstitutionally

vague do not apply to Mckim and are the only way she was given

an unjust sentence of 450 years for a frist time offender.

Mckim’.was also given a 4 point enhancement for sdo which this

also fits unto the unconstitutionally vagueness that the Johnson

case has referenced. Again gut insticts are flawed and are

equally unreliable in determing what is and ig not in this catagoory.
Mckim had no control or willingness in any way of Che situations

that have been charged against her. ,Mckim was forced to do what

she was told. Her co-defendant had made serval threats to harm
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her and her children. He was arrested on one instince. Under
the 18 U.S.C. 924 (c)} (3) (A) is consider " force clause” (A)

a felony that “" has as an element that use, attempted use, or

threatened use of physical force against the person or property

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of another," or (b) a felony that by its nature involves a
substantial risk that physical force against the person or

property of another may be used in the course of committing

the offense 18 U.S.C 924 (c}(3) (a) is refered to as the force clause
whereas 18 U.S.C 924 (c) (3) (B) is referred to as the “residual
Slause". United States v Brown (13-1706) (2nd Cir June 14, 2016)

At sentencing the district court sentenced Brown to 60 yeats
imprisonment ( three 20 year sentence to be run consecutivly)

The court noted Brown allegedly " destroyed the Lives of 3

specific children". .The children in BrownS:case had “ no knowledge

of being victized by Brown." So there was no"negative impact”.

The court concluded that it was appropriate to remand for resentecing
to ensure that the sentence is not based on erroneous understanding
of the facts. Although the court expressed no definitive views

on the subtantivie reasonableness of the ociginal sentence

imposed, the court respectfully suggest that the district court
consider whether an effective life sentence is warranted in this
case. Mckim's enhancements should not include the 5 points for
pattern of activity nor the 5 units .for the groups. She should

atso not have the 4 point.:enhancement for sado which she was

forced into. Mckim sentence has been run consective to be a

life sentence without the merits to make this even possible
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CERTIFICATE OF SERVICE
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motion was placed in the prison mailbox from co, e fr
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penalty of perjury that all of the statements made in this

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Christine Meckim
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2016 Jun-24 PM 01:56

U.S. DISTRICT COURT

NLD. OF ALABAMA

SOUTHERN DIVISION
)
)
)
vs. ) 2:16-cv-8033-AKK
) UNDER SEAL
UNITED STATES OF AMERICA, )
Respondent. )

ORDER

The court has for consideration Petitioner’s Motion to Vacate, Set Aside or
Correct Sentence pursuant to 28 U.S.C. §2255, Doc. 1. Petitioner’s motion to seal the
proceedings in this case, doc. 2, is GRANTED. The motion to vacate is based on
Petitioner’s contention that her trial counsel provided ineffective assistance by,
among other things, failing to file an appeal, and on her contention that her sentence
of 5,400 months is cruel. Doc. 1 at 4-8, 14-21. Petitioner’s motion is untimely
because under 28 U.S.C. §2255(f), “[a] 1-year period of limitation shall apply to a
motion under this section.” The court issued the judgment in Petitioner’s case on July
20, 2009. See Crim. Doc. 37.' Petitioner did not file an appeal, albeit because of her
contention that she could not reach her counsel. Doc. 1 at 4—6, 14-21. Instead, she

waited until April 29, 2016, almost seven years later, to file this motion. See doc. 1.

 

'Crim. Doc. refers to the docket entries in the underlying criminal case, United States v.
McKim, 2:08-cr-313-IPJ.
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Although Petitioner excuses her delay by claiming she tried unsuccessfully to reach
her lawyer to file an appeal, as she notes in her motion, she abandoned those efforts
in January 2010 by requesting a new lawyer, see Crim Docs. 43 and 44, and when the
court denied her request for a new lawyer, she decided not to ask anyone else to help
her with her case “due to the type of crime it was.” Doc. 1 at 11. In other words,
there is nothing in the motion that would warrant the extension of the one year statute
of limitations to April 2016. Accordingly, because Petitioner filed this motion well
outside the one year period of limitation provided by 28 U.S.C. §2255(f), Petitioner’s
motion is DENIED.’

Done this the 24th_ day of June, 2016.

—ALa-p bLe tton——.

ABDUL K. KALLON
UNITED STATES DISTRICT JUDGE

 

On June 23, 2016, Petitioner filed a second motion to reduce her sentence pursuant to
Johnson v. United States, —§. US. _, 135. §. Ct. 2551 (2015). See doc. 3. This motion is a
“second or successive” motion under § 2255, over which the court lacks subject matter
jurisdiction until the court of appeals authorizes the filing of the motion. As part of the Anti-
Terrorism and Effective Death Penalty Act of 1996 (“AEDPA”), Congress amended § 2255 to
limit the filing of “second or successive” motions attacking federal convictions and sentences.
Subsection (h) of § 2255 now requires that ‘“‘[a] second or successive motion must be certified as
provided in section 2244 by a panel of the appropriate court of appeals. . . .” Because Petitioner
has not alleged or shown that the court of appeals has authorized her to file this successive
motion, the court does not have jurisdiction over this matter. See, e.g., United States v. Holt, 417
F.3d 1172, 1175 (11th Cir, 2005) (“Without authorization [from the court of appeals], the district
court lacks jurisdiction to consider a second or successive petition.”) (citation omitted).
Therefore, the court DISMISSES the motion without prejudice for want of subject matter
jurisdiction.
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